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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED sTATEs oF AMERICA
"‘ Crim. No. 17-232 (EGs)
MICHAEL T. FLYNN,

Defendant

 

JOINT STATUS REPORT

COMES NOW, the United States of America, by and through Special Counsel
Robert S. Mue]ler, III, and the defendant through his counsel, and file this joint
status report to provide the Court With the current status of this matter.

1. On June 29, 2018, the parties filed a joint status report With the Court,
Wherein the parties represented that, “[d]ue to the status of the Special Counsel’s
investigation, the parties d0 not believe that this matter is ready to be scheduled for
a sentencing hearing at this time.” Accordingly, the parties proposed that the Court
enter an order requiring the parties to provide a joint status report no later than
August 24, 2018.

2. In that same June 29 report, the parties requested that the Court refer
this case to the Probation Office for the preparation of a presentence investigation
report. The Court, in a Minute Order issued later that day, noted that such a
request departs “from the Court's usual practice of ordering a presentence report,

scheduling a sentencing date, and establishing a sentencing briefing schedule at the

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same time,” and directed the parties to file a pleading providing reasons Why the
Court should depart from its usual practice.

3. Although this matter is not ready for sentencing, the parties intend to
request that a sentencing hearing be scheduled promptly once the matter becomes
ready for sentencing, For that reason, the parties have sought to initiate the process
of preparing a presentence investigation report. The parties believed this approach
Would put the Court in a position to schedule a sentencing hearing, if the Court
Were to so choose, on a more expedited schedule at such time as the matter becomes
ready for sentencing

4. HoWever the Court decides to proceed in regard to the presentence
investigation report process, the parties Will notify the Court as soon as the matter

is ready to be scheduled for a sentencing hearing.

 

 

Respectfully submitted,
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